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MEMORANDUM ENDORSEMENT                                             I\
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Melton v. Poughkeepsie City School District,
16 CV 9701 (VB)

         In the attached undated letter, plaintiff, proceeding prose and in forma pauperis, attaches
a new complaint dated September 20, 2019, and an EEOC right to sue letter dated July 9, 2019.
(Doc. #108). According to plaintiff, Magistrate Judge Lisa Smith told her during discovery that
if she wanted to introduce evidence of any incidents that occurred after July 23, 2017, she could
file a second EEOC charge.

       It appears plaintiff wishes to reopen this case. That request is DENIED.

       On September 24, 2019-the same day plaintiff filed this letter, although plaintiffs letter
was electronically docketed on September 25, 2019-the Court granted summary judgment in
defendant's favor on all of plaintiffs claims. (Doc. # 107). The Clerk entered judgment on
September 25, 2019, and closed this case. (Doc. #109).

       Plaintiff may commence a new lawsuit in this Court. She may also appeal the Court's
summary judgment decision to the Second Circuit. But this case is closed, and plaintiff provides
no basis for reopening it.

       The Clerk is directed to mail a copy of this Order to plaintiff at the address on the docket.

        The Comi certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this Order
would not be taken in good faith, and therefore in forma pauperis status is denied for the purpose
of an appeal. See Coppedge v. United States, 369 U.S. 438, 444--45 (1962).

Dated: September 26, 2019
       White Plains, NY

                                                     SO ORDEREUW&


                                                     ~riccetti
                                                     United States District Judge
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                                                                           ID)~©~OW~~
Carol Melton




                                                                           lJ\\ I ;~~ 20~9 JUdJ
PO Box 1014

Poughkeepsie, NY 12602


                                                                            PRO SE OFFICE
Hon. Vincent Briccetti

United States District Court Judge

United States District Court, Southern District of New York

300 Quarropas Street

White Plains, New York 10601

Re: Melton v. Poughkeepsie CSD, Index No. 16 CV 09701 Second RIGHT TO SUE letter (Retaliation)

Dear Honorable Judge Briccetti:

I am the prose plaintiff in this action.

Currently, I was writing to inform the court about my second Right To Sue letter.

While in the discovery phase of this case I was informed by Magistrate Judge Lisa Smith that I could not
introduce any incidents that happened to me after June 23, 2017. Magistrate Judge Lisa Smith informed
me of a few options that would allow for me to introduce other forms of negative incidents in this case.
One of those options was to file another EEOC case which I did.

Please find attached the new EEOC case. The EEOC did send the right to letter to the defendant back in
July 2019. I received the Right To Sue letter July 19, 2019.

Thank you for your understanding and your time in this matter.
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 Pro So 7 (Rev. 12/16) Complaint for Employment Discrimination



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Southern District of New York

                                                                   _ _ _ _ Division


                             Carol Melton                                             Case No.   16cv 09701
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               Poughkeepsie City School District                              )
                                                                              )
                                                                              )
                                  Defe11dal1f(s)                              )
(Write the Ji1/l 11a111e of each defendant who is being sued. {ft lie
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                                                                              )                               PRO SE OFFICE
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with the Ji1ll list of 11a111es.)



                               COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                    Carol Melton
                                                                        --·-·-·-·-----..- - - - - - -
                                Street Address                          P.O. Box 1014
                                City and County                         Poughkeepsie, Dutchess
                                State and Zip Code                      New York 12602
                                Telephone Number                        845-204-3395
                                                                        ---------··----··                               --------·--·---···--·
                                                                                                                                            ..
                                E-mail Address                          shaolln 1prlncess@hotmail.com


          B.         The Dcfenclant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.

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Pro Se 7 (Rev. 12116) Comglaint for Employment Discrimination

                    Defendant No. 1
                               Name                                Poughkeepsie City School District
                               Job or Title (if k11011'11)
                               Street Address                      11 College Avenue
                               City and County                     Poughkeepsie, Dutchess
                               State and Zip Code                  New York 12603
                               Telephone Number                    (845) 451-4950
                               E-mail Address (ijknwn)


                    Defendant No. 2
                               Name
                                                                  ----         ....   ·----····
                               Job or Title (if known)
                               Street Address                               __________ ...._                                 ............... ., ......... , - - - - - -
                              City and County
                              State and Zip Code
                                                                  ---------------------···--·
                              Telephone Number
                              E-mail Address (ifk11011'11)
                                                                  - - - -..· - - - · - · - - - - - - - - - - - -

                    Defendant No. 3
                              Name                                - - - - , ...._____________                                      ·-·-··-·--------
                              Job or Title (if k11ow11)                   ___________                                ._,   .........................        ------
                              Street Address
                                                                  - - - -......... -       .. -- ......
                              City and County
                                                                                                   - - - - - - - - - - - · - - - -............ .
                              State and Zip Code
                                                                            --------------
                              Telephone Number                                 ______                                .. , ............. .

                              E-mail Address (if k11ow11)                ____________ __________                     ..                  .. ........... ,
                                                                                                                                          _                 -------


                   Defendant No. 4
                              Name
                                                                  -----------·------
                              Job or Title (if k11ow11)
                              Street Address
                                                                  -------------------------·---,·-·-------
                              City and County
                             State and Zip Code
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                             Telephone Number
                                                                          •·'•--·--·-------------
                             E-mail Address        (if knoll'n}
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Pro Se 7 (Rev. 12116) Complaint for Emplo1~nent Discrimination

          C.         Place of Employment

                     The address at which I sought employment or was employed by the defendant(s) is

                               Name                               Morse Elementary School
                               Street Address                      101 Mansion Street
                               City and County                    Poughkeepsie, Dutchess
                                                                                                                    ... ,, _______ ......... . ------····-·
                                                                  ······-······---------····--···--···--·----·---·--··      ,,_                           ·--·······-·--·..·---
                               State and Zip Code                 New York 12601
                               Telephone Number


II.       Basis for Jul'isdiction

          This action is brought for discrimination in employment pursuant to (check all that app!J~:

                 IZJ             Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e- l 7 (race,
                                 color, gender, religion, national origin).

                                 (l'{ote: !11 order to bring suit i11federal district court 1111der Title fill, you must first obtain a
                                 Notice of Right to Sue letter.from the Equal Employ111e11t Opport1111ity Commission.)

                 D               Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

                                 (Note: !11 order lo bring suit infederal district court under the Age Discri111/11atio11 in
                                 Employment Act, you mustfirst.fUe a charge with the Equal Employ111e11t Opport1111Uy
                                 Co111111issio11.)

                D                Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

                                 (Note: !11 order to bring suit in.federal district court under the Americans with Disabilities
                                 Act, you must.first obtain a Notice of Right to Sue lellerfi·om the Equal E111ploy111e11t
                                 Oppor/1111/ty Co111111issio11.)

                D                Other federal law (spec/fj• thefederal lm1•):

                                        ---·---------·---
                D                Relevant state law (specify, ifknown):

                                         .. - - . · · - - -.. , - . - - - - - - - - - - - - - - - - - - - - - - - - - - -
                D
                                ----·"     ,·,--


                                Relevant city or county law (specify, ifkllown):

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Pro Se 7 (Rev. 12/16) Complaint for Emelo~'lllcnt Discrimination



III.        Statement of Claim

            Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
            facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
            involved and what each defendant did that caused the plaintiff harm 01· violated the plaintiff's rights, including
            the dates and places of that involvement or conduct. If more than one claim is asse1ted, number each claim and
            write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

            A.       The discriminatory conduct of which I complain in this action includes (check all that app/J~:

                            D               Failure to hire me.
                            D               Termination ofmy employment.
                            [l]             Failure to promote me.
                            D               Failure to accommodate my disability.
                            [Z]             Unequal terms and conditions ofmy employment.
                            [Z]             Retaliation.
                            [l]             Other acts (specijj~:   Retaliation after 6/2017, which is the cutoff date set by the court
                                           (Note: 011/y those grounds raised in the charge.flied with the Equal E111ploy111e11t
                                           Opportunity Co1111111:~sio11 can be considered by the federal district court under the
                                          .federal e111ploy111e111 discrimination statutes.)

       B.            It is my best recollection that the alleged discriminatory acts occurred on date(s)



       C.            I believe that defendant(s) (check one):
                            IZJ            is/are still committing these acts against me.
                            D              is/are not still committing these acts against me.

       D.            Defendant(s) discriminated against me based on my (check all thal apply and e.,plai11):
                            [l]            race
                           D               color
                           D               gender/sex
                           D               religion
                           D               national origin
                           D               age 6·em· ofbirth)                   (011/y when asserting a claim of age discri111i11atio11.)
                           D               disability or perceived disability (specify disabiliM



       E.           The facts of my case are as follows. Attach additional pages if needed.



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Pro Sc 7 \Rev. 12/16) Complaint for Employment Discrimination

                    SEE ATTACHED




                    (Note: As additional support for the facts ofyour cla/111 you may allach lo this complaint a copy of
                                                                                 1

                    yo11r charge filed with the Equal Employment Opport1111ity Co111111issio11, or the charge filed with the
                    relevant state or city human rights division.)

IV.    Exhnustion of Fed em I Administr:itive Remedies

       A.          It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                   my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                   on (date)
                   APPROXIMATELY 11/29/2018

                   ······-·--·-·--··--··--------------·-------------

       B.           The Equal Employment Opportunity Commission (check one):
                           D             has not issued a Notice of Right to Sue letter.
                           [Z]           issued a Notice of Right to Sue letter, which I received on (date)   07/19/2019
                                         (Note: Allach a copy of the Notice of Right to Sue leller,f,-0111 the Equal Employment
                                         Opport1111ify Co111111issio11 to this complaint.)

       C.           Only litigants alleging age discrimination must answer this question.

                    Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                    regarding the defendant's alleged discriminatory conduct (check one):

                          D              60 days or more have elapsed.
                          D              less than 60 days have elapsed.

V.    Relief

      State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
      arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
      amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
      or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
      money damages.




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Pro So 7 (Rev. 12/16) Complnim for Employment Discrimination

        SEE ATTACHED




             ---------------------------                                                          ~·   ----

VI.    Certification and Closing

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
       and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost ol'litigation; (2) is supported by existing law or by a
       nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
       evidentiary support or, if specifically so identified, will likely have evidentiary support afler a reasonable
       opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
       requirements of Rule 1I.


       A.           For Parties Without 1111 Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.




                   Signature of Plaintiff



       B.          Fol' Attorneys

                   Date of signing:


                   Signature of Attorney
                   Printed Name of Attorney
                   Bar Number
                   Name of Law Firm
                   Street Address
                   State and Zip Code
                   Telephone Number
                   E-mail Address




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                                                                  U.S. Department of Justice
                                                                  Civil Rights Division
                                                                  NOTICE OF IUGI IT TO SUE WITIIIN 90 DAYS

CERTIFIED MAIL                                                    950 i'Cllll$)'/V1111hi A WIIUC, N. \V.
                                                                  Ktmm Ferguson, li/\11', f'IIJJ, lfoom 4701
7018 1830 0000 1246 3075                                          11'11shi11glo11, DC 20530

                                                                  July 09, 2019
Ms. Carol Melton
P.O. Box 1014
Poughkeepsie, NY 1260 I

Re: EEOC Charge Against Poughkeepsie City School Dist.
    No. 520201804849

Dear Ms. Melton:

    Because you filed the above charge with the Equal Employment Opportunity Conunission, and more
than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge, and no
suit based thereon has been filed by this Department, undJ)cenuse you have specifically requested this
Notice, you arc hereby notified that you hnve the right to institute a·civil action under Title VII of the
Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, ct seq., against the nbove-namcd respondent.
   If you choose to commence a civil action, such suit must be tiled in the appropriate Court within 90
days of your receipt of this Notice. If you cannot afford or are unable lo retain an nttorney to represent
you, the Court may, at its discretion, assist you in obtaining an attorney. If you plan to ask the Court to
help you find an attorney, you must make this request of the Court in the form and manner it requires.
Yom request to the Court should be made well before the end of the time period mentioned above. A
request for representation docs not relieve you of the obligation to file suit within this 90-day period.
  The investigative file pertaining to your case is located in the EEOC New York District Office, New
York, NY.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whethcl' or not your case is meritorious.
                                                           Sincerely,

                                                        El'ic S. Dl'oibl\lld
                                                    Assistant Attorney General
                                                     Civil Rights Division
                                                  by   Vk'Lv-v-- L. . ~~~-'\_{S(_/.) tfY___
                                                       /iz;~·cn
                                                             L. Ferguson
                                                 Supervisory Civil Rights Annlyst · ·
                                                  Employment Litigation Section
cc: New York District Office, EEOC
  Poughkeepsie City School Dist.
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                                          ATTACHMENT A


                                                  Facts


                              (Retaliation after June 23, 2017)


    1.   Morse Elementary School Assistant Principal Ms. Nicole Penn conducted a group interview for
         summer positions and it was stated in the email to the internal applicants that there would be
         no other time scheduled for these positions. However, the applicants who did not show up for
         the group interview were given the jobs/positions. In fact, at least one of the candidates
         selected for a positron was not a certified teaching assistant as it required.
    2.   Morse Elementary School Assistant Principal Ms. Nicole Penn gave me a 2nd interview for a
         summer position in July/ August 2017 - 2nd but told Poughkeepsie City School District's lawyers I
         did not show up for the Interview. However, there is written evidence contrary to her
         statement.
    3.   November 1, 2017, I was not approved for the empire state grant for my organization despite
         being the most successful program In the district.
    4.   In January 2018, the District appointed an employee with less seniority to an afterschool
         program which is an extra assignment. My union's collective bargaining agreement {CBA) states
         that seniority is the most Important factor in all extra assignments.
    5.   Principal Ms. Nadine Dargan, 2015- 2016, 2016- 2017, 2017 - 2018, 2018- 2019 and this
         school year, has declined to provide an air conditioner although all others have window units.
         During warmer weather it becomes unbearable especially with computers running continually. I
         have not received a reason why everyone except me has a window air conditioner.
    6.   In April 20, 2018, $427.20 was deducted from my paycheck that was not deducted in the past
         for the same reason. Then Assistant Superintendent for Human Resources Dr. Kathleen Farrell
         deducted the money from my check stating district policy and my unit contract but could not
         produce the applicable policy nor identify the section in my CBA. They had docked me another
         $185.13 (which they shouldn't have), but they reimbursed me because they had docked me for
         the same day twice.
   7.    In June 2018, the Poughkeepsie City School District refused to interview me for summer
         positions of which I was qualified. Many others received the positions, and most had less
         seniority than me.



Acts of lmplicit/Expllclt Blas, Discrimination and Retaliation


   8,    In September 11 -14, 2018 I received a phone call from Interim Superintendent Dr. Kathleen
         Farrell to take training for 4 days (Tuesday- Friday) from 8:00 AM to 4:00 PM. However, Dr. Eric
         Bradford Community Schools Grant Site Coordinator, applied restrictions to my training while
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    two white women were not limited. There were only three individuals who took this training, all
    were women (one Black {myself) and two White). Dr. Bradford allowed the two white women to
    receive full training while Informing me that training started at different times. This purposeful
    misinformation caused me to receive only a very small fraction of the training than they did. Dr.
    Bradford had me wait for hours in the Poughkeepsie Middle School main office to speak to the
    school principal, Mr. D'Avilar, while training continued. After an inappropriate conversation
    regarding my presence there for training, the principal Mr. D'Avilar, sent me back to training. Dr.
    Bradford was visibly troubled by Mr. D'Avilar response. Dr. Bradford had the facilitator for this
    training, Ms. White from Creative Learning Systems, who is also white and is not an employee of
    the school district, to surveil me. She retained tabs/times of my whereabouts even to the
    bathroom. After Dr. Bradford and Ms. White said training had ended although it had not, Dr.
    Bradford along with Principal Mr. D'Avilar kicked me out of the Poughkeepsie Middle School.
    Both Mr. D' Avilar and Dr. Bradford ensured that I left the building. Dr. Bradford even followed
    me outside the school building.
9. On September 14, 2018, Dr. Farrell sent me an email about the training and lied about the
    events that took place.
10. In the months of August, September, October and November 2018, Poughkeepsie City School
    District's attorney Mr. Mark Rushfield in conjunction with Interim Superintendent Dr. Farrell
    continued to keep my settlement offer away from the Poughkeepsie City School District's School
    Board. The Board, collectively (not independently), are the only individuals who can make the
    decisions to either accept or reject the offer as the district policy states. Both Mr. Rushfield and
   Dr. Farrell were withholding the offer from the Poughkeepsie City School Board, which prevents
   any discussion and/or the ability to vote on any offer on the table. Mr. Rushfleld and Dr. Farrell
   are purposefully preventing and thereby stopping the Poughkeepsie City School District School
    Board from settling with me which is another form and act of retaliation on my person.
11. December 5, 2018, I was not approved for the empire state grant for my organization despite
    being the most successful program in the district.
12. June -August 2019 tried to have me moved from (and destroy) my media center even though it
   was the most successful in district history. Also, the room they tried to move me to was the
   room that is very traumatic to me. It's where most of this started.
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                                          ATTACHMENT B


                                                Injuries


The constant harassment, intimidation, retaliation from my building principal Ms. Nadine Dargan and

assistant principal Ms. Nicole Penn. My building principal Ms. Nadine Dargan repeatedly tried to destroy

my lab which is the most successful in district history. Dr. Eric Bradford, Community Schools Grant Site

Coordinator had others follow and surveil me while preventing me from receiving training. The district

prevented me from applying for positions. Middle School Principal Mr. D'Avilar kicked me out of the

Poughkeepsie Middle School like I was a criminal or was causing some type of problem which is

stressful, embarrassing and humiliating. I was only there for training. Dr. Farrell, Ms. Nicole Penn and

others constantly lied about me and to me, creating a hostile work environment which made it difficult

for me to do my job to best of my ability. Funding was given to everyone who applied except me. These

incidents and similar incidents have caused me a tremendous amount of stress and nervousness just

coming to work because I do not know what is going to happen next causing my hair to fall out among

other things.
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                                             ATTACHMENT C


                                                     Relief

I am requesting the Court to order that:


    •     the Poughkeepsie City School District and/or it's designees to cease and desist all retaliatory acts

          against my person and from creating and encouraging a hostile work environment against me.

    •     the Poughkeepsie City School District to cease and desist any and all discriminatory and racist

          treatment of me and my peers.

    •     the Poughkeepsie City School District to remove any and all negative and derogatory

          documentation pertaining to me and/or my husband from any and all internal and external

          district, building, personnel and personal files public or private.


$4,800 2017 summer programs


$4,800 2018 summer programs


Approximately $12,000 for Empire State Grant for 2017 -2018 school year.


Approximately $12,000 for Empire State Grant for 2018 -2019 school year.


Approximately $44,800 for not being approved for the Empire State Grant 2017 -2018 for The Mighty

Young Techs'M


Approximately $44,800 for not being approved for the Empire State Grant 2018 -2019 for The Mighty

Young Techs'"


$427.20 deducted from my paycheck


$250,000 - Slander & Libel
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$500,000 - Pain and suffering for the mental torture that I endured which led to mental anguish.


(Damages to my reputation and employment)
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